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IN THE sTATE COURT OF sPALDINo COUNW§‘
sTATE OF GEORGIA n ‘ ~' ~
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HEATHER NORTGN *‘
* ivm_@;tn@t>_l;<o_.,
* meets in sc:ozn~:es.si£si\:
Piainiiff *
’l¢
vs. * Civil Action #
>k
APPLEBAUM & AssooiATEs soUTI-i, INC.; * \\ 5 \J - 3\ fo
DRIVEWAY MAINTENANCE, INC.; *
AAA DR_IVEWAY MAINTENANCE, INC. & *
CARLOS ALVARADO-CABRERA *
>l¢
Defendants *
C()MPLAINT FOR DAMAGES

 

Comes now, Plaintiff and herewith files her complaint for damages against Defendants
and shows to the Court the following:

-Co¢mt l-
-1_
The Defendant Carlos Alvarado-Cabrera is a resident of the State of Texas but is subject
to the jurisdiction of this Court under the authority of O.C.G.A. 9-10-91 in that said Defendant is

a non*resident of Georgia and said Defendant did commit a tortious act Within Georgia on
November 5, 2009.

_2-

The Defendant Carlos Alvarado-Cabrera may be personally served with a second original
of the summons and complaint at his resident located at 2304 Trice Avenue, Waco, Texas 76707.

_3_
The Plaintiff is a resident ofClayton County, Georgia.

_4-
On or about November 5, 2009, the Defendant Carlos Alvarado-Cabrera While driving a

2006 F ord F-450 negligently changed lanes improperly striking the vehicle driven by the
Plaintiff`. The collision occurred in Spalding County, Georgia. Pursuant to O.C.G.A. 9~10-93

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venue is proper in Spalding County, Georgia.

Driveway Maintenance, lnc. are vicariously liable to the Plaintitt for the aforementioned
negligence of their employee Defendant Carlos Alvarado~Cabrera.

pursuant to O.C.G.A. 9-10-90, 9~10-91 and 9-10-93.
“8_

Defendant Applebaum & Associates South, lnc. and AAA Driveway Maintenance, Inc.
may be served with process through their registered agent to wit: Ray C. Applebaum at 1100 NW
73'd Street, Miami, Florida 33150. ln the alternative Defendant Applebaurn & Associates and
Defendant AAA Driveway Maintenance, lnc. may be served pursuant to O.C.G.A. 9-10-94 and
9-l 1»4 upon the Secretary Frederica L. Applebaum, managing agent, any officer of said
corporations or other agent designated for service of process

_9-
Defendant Driveway Maintenanee, Inc. is a nonresident for profit foreign corporation not
authorized to do or transact business within this state at the time Plaintiff’s claim arose and is

therefore subject to the jurisdiction and venue of this court pursuant to O.C.G.A. 9-10-90, 9-10~
91 and 9~10-93.

-19_

Fairvilla Road, Orlando, Florida 32808.

PageSof?

   

»11-

Pursuant to O.C.G.A. 9~10-91, venue is proper as to Det`endants Applebaum &
Associates South, lnc., Driveway Maintenance, Inc. and AAA Driveway Maintenance, Inc.
because the tort committed by said corporations by and through their employee occurred in
Spalding County, Georgia.

»12-

y The Plaintiff exercised ordinary care at all times and did nothing to contribute to the
subject collision.

-13-

ll/l 0/09~ Mid Georgia Chiropractic Center $ 2,3 65.00
1/19/10

l l/l 7/09 McIntosh Trail Family Praetice 150.00
12/3/09 Mclntosh Trail F amin Practice 75.00
12/16/09 Griffin lmaging 1,350.()0
12/22/09 Mclntosh Trail Farnily Practice 75 .00
1/28/ 10 Resurgens Orthopaedics 256.00
5/10/10 Resurgens Orthopaedics 251.00
5/1 9/1 0 Regional Medical Group 2,586.00
7/16/10 Resurgens Orthopaedics 14_6.00
9/17/10 Resurgens Orthopaedics 146.00
12/01/10 Henry Medical Center 42,781.20
12/01/10 Henry Anesthesia 4,838.00
12/01/10 Dr. Philip Ploska (surgeon fee) 24.833.00
12/13/10 Resurgens Orthopaedics 137.00
l2/3()/l0 thru Proactive PT 2,323.00
4/27/1 l

4/14/11 Resurgens Orthopaedics 208.00
7/18/11 Resurgens Orthopaedics 251.00

Plaintiff reserves the right to supplement prior to entry of the pretrial order.

-14-

The Defendants have been stubbornly litigious and has caused the Plaintiff unnecessary
expense in having to tile this action and is therefore, entitled to attorneys’ fees and expenses

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pursuant to O.C.G.A. 13~6-1 l.

-Count 2-

Plainti;t`f incorporates paragraphs 3, 4, 5, 6, 12, 13 and l4 under Count l into Count 2 of
Plaintift` s Complaint for Damages by specific reference

-15-
'l`he Defendant Carlos Alvarado-Cabrera is a resident of ’I`exas.
_16_

Pursuant to O.C.G.A. 40-12-3 venue shall be brought in the county in which the accident
or injury occurred The subject wreck occurred in Spalding County.

~17-

Defendant Carlos Al'varado-Cabrera is now and was at the time the claim which is the
subject matter of this complaint arose, a resident of Texas. Defendant now resides to the best of
Plaintiff’s belief at:

23 04 Trice Avenue
Waco, Texas 76707

Det`endant Carlos Alvarado-Cabrera is subject to the jurisdiction of this Court under the
authority of O.C.G.A. 40~12~1 et seq, and may be served with process by serving the Secretary of
the State ol` Georgia, as agent, as provided by said laws.

_13_
Jurisdiction and venue are proper.
_19-

On or about November 5, 2009, the Defendant Carlos Alvarado~Cabrera a nonresident
motorist while driving a 2006 Ford F-450 negligently changed lanes improperly striking the
vehicle driven by the Plaintiff. The collision occurred in Spalding County, Georgia. Pursuant to
O.C.G.A. 40~12~3 venue is proper in Spalding County, Georgia.

-20-

As a direct result and proximate cause of Dei`endant Carlos Alvarado~Cabrera’s
negligence, the Plaintiff was injured.

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-21-

Defendant Applebaurn & Associates South, lnc., Driveway Maintenance, Inc. and AAA
Driveway Maintenance, lnc. were nonresident foreign corporations at the time of the subject
collision caused by their employee Defendant Carlos Alvarado~Cabrera in Spalding County and
jurisdiction and venue are proper as to said Defendants pursuant to O.C.G.A. 40-12-1, 40~12-
and 40~12~3.

_22_

Dei`endantApplebaum & Associates South, lnc. and AAA Driveway Maintenance, Inc.
have as registered agent Ray C. Applebaum with address listed as 1100 NW 73rd Street, Miami,
Florida 33150. Said Dei`endants are subject to the jurisdiction of this court under the authority of
O.C.G.A. 40~12-1 et seq., and may be served with process by serving the Secretary of State of
Georgia, as agent, as provided by law.

..23..

Defendant Driveway Maintenance, Inc. has as registered agent Ray C. Applebaum with
address listed as 599 Fairvilla Road, Orlando, Florida 32808. Said Defendant is subject to the
jurisdiction of this court under the authority of O.C.G.A. 40-12-1 et seq., and may be served with
process by serving the Secretary of State of Georgia, as agent, as provided by law.

~Count 3-
b24._

Defendant Applebaum & Associates South, Inc., Driveway Maintenance, Inc. and AAA
Driveway Maintenance, lnc. are foreign for profit corporations authorized to do or transact
business in Georgia and may be served with a copy of the summons and complaint upon their
registered agent Ray C. Applebaum pursuant to O.C.G.A. 14-2~1510.

-25_

Pursuant to O.C.G.A. 14~2-510, venue is proper as to Defendant Applebaum &
Associates South, Inc., Driveway Maintenance, Inc. and AAA Driveway Maintenance, Inc.
because the tort committed by said Defendants occurred in Spalding County, Georgia.

_25_

Jum`sdiction and venue are proper.

_27_

Defendant incorporates herein by specific reference the allegations contains in Paragraphs

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27. Def`endant incorporates herein by specific reference the allegations contained in
Paragraphs 4, 5, 6, 12 and 13 of Court l of Plaintiff’ s Complaint and Paragraphs
22 and 23 of Count ll of Plaintif`f"s Cornplaint.

28. lf` after reasonable diligence the registered agent cannot be served, defendant
Applebaum and Associates South Inc., Driveway Maintenance, and AAA
Driveway Inc. may be served by registered or certified mail, statutory overnight
delivery, return receipt requested, addressed to an officer of the companies at its
principal office shown in its annual registration coupled with serving a copy of
the process upon the Secretary of State and $10 filing fee pursuant to OCGA
§14-2-1510.

Signed by:

Crarner & Peavy
J ames E. Peavy

One verified return of service to AAA Driveway C/O Ray Applebaurn and another
verified return of service to Applebaum & Associates South, lnc. - actual service to both
on Noveniber 5, 2011 by Agency for Civil Enf`orcement Corp. out of Florida. The Court
stamped and filed on docket these 2 verified return of service on December 5, 2011.

Novernber 7th Affidavit of Service served on Driveway Maintenance by Agency for Civil
Enforcernent Corp. out of Florida. No address listed Dec. 19 - Affidavit of Service
actually docketed

Nov. 9th - Affidavit of Service served on Driveway Maintenance by Agency for Civil
Enforcement Corp. out of Florida to 599 Fair Villa Road in Orlando, FL.
Dec. 19 - Affidavit of Service actually docketed

Dec. 14th - Acknowledgernent of Service by all defendants including Carlos Alvardo
Cabrea from the Secretary of State, Brian Kernp.

Dec. 15 - Answer of all Def`endants docketed

Dec. 15 - Notice of Removal to higher court docketed

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SUMMONS

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COUN'I`Y
S'I`ATE OF GEORGIA
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' DEPENDANT §§ § 33_

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SUMMONS
AAA Dttvt’wu\/ Mtlmitnah(r! /nc_
TO THE ABOVE NAMED DEFENDANT:
You are hereby summoned and required to tile with the Clerk of said court and serve upon the Plaintiff’s attorney, whose name
and address is:
CRAMER AND PF_AW
Attomeys at Law
RG. Box 58

Grtffin, Georgia 30224

an answer to the complaint which is herewith served u

pon you, within 30 days after service of this summ
of the da

ons upon you, exclusive
y of service lt you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint
ed
ThisL 5 day of `(\%\) ` , 20 \\

Clerk of Superior/State Court

BY meade d \i\bt)\v\i®
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